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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

              Plaintiff,

       vs.                                                                No. CR 07-1244 WJ


DONALD SCOTT TAYLOR

              Defendant.


                    MEMORANDUM OPINION AND ORDER
                DENYING REQUEST FOR STAY PENDING APPEAL
                                  and
             DENYING AS MOOT MOTION TO CERTIFY AS FRIVOLOUS
                    NOTICE OF INTERLOCUTORY APPEAL

       THIS MATTER comes before the Court upon Defendant’s Motion to Stay Trial and All

Further Proceedings Pending Appeal, filed September 21, 2009 (Doc. 530) and the

Government’s Motion to Certify as Frivolous the Notice of Interlocutory Appeal, filed

September 22, 2009 (Doc. 536).1 Having considered the parties’ briefs and the applicable law, I

find that Defendant’s motion is not well-taken and will be denied, and that the Government’s

motion will be denied as moot.

                                         Background

       On September 18, 2009, the Court denied Defendant’s motion to strike the future

dangerousness and victim impact aggravating factors contained in the Government’s informative




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         The Government’s reply in this motion is due Wednesday, September 30, 2009. In light
of the Court’s disposition of this motion, no reply is necessary.
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outlines. Doc. 518.2 18 U.S.C. § 3593 requires the Government to provide notice stating that the

Government believes that a sentence of death is justified if the defendant is convicted, and

setting forth the aggravating factor or factors that the Government proposes to prove as

justifying a sentence of death. The Defendant had argued that the Government provided untimely

notice of its intent to use several aggravating factors to convince a jury in the penalty phase that

the death penalty was warranted. The Court rejected Defendant’s challenge, finding that the

Government’s Notice of Intent to Seek a Penalty of Death in this case was timely filed and was

in full compliance with all the Government’s obligations, and that the informative outlines filed

by the Government generally complied with the Court’s orders and were provided early enough

to allow Defendant adequate time to prepare a meaningful defense against the Government’s

aggravation evidence. However, the Court also found that neither the original Outline nor either

of the subsequent amendments to it provide Defendant with sufficient notice of the nature of the

victim impact evidence the Government intends to introduce and ordered the Government to

provide Defendant with an amended informative outline specifying the general nature of its

proposed victim impact evidence. The Court denied Defendant’s motion to strike the future

dangerousness and victim impact aggravating factors, to grant a continuance of the trial, or to

exclude any of the evidence set forth in the Government’s outlines.

       On September, 21, 2009, Defendant filed a Notice of Interlocutory Appeal, and

subsequently filed a motion requesting a stay in this case pending appeal. Defendant contends

that the Court’s Order denying the motion to strike aggravating factors is an exception to the

final judgment rule, and as such is immediately appealable under Cohen v. Beneficial Indus.


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        In the alternative, Defendant sought to exclude the evidence set forth in the
Government’s informative outline. Doc. 429.

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Loan Corp., 337 U.S. 541 (1949).

       The Government has filed a response to the motion and also a motion asking the Court to

certify the appeal as frivolous. The Government’s position is that the Tenth Circuit does not

have jurisdiction over the appeal because the order being appealed by Defendant does not qualify

as a collateral order from which an interlocutory appeal may be taken. In the alternative, the

Government contends that Defendant’s interlocutory appeal is frivolous on its merits.

                                             Discussion

       As announced in Cohen, in order to qualify as a collateral order from which an

interlocutory appeal may be taken, three factors must be satisfied. First, the challenged order

must finally dispose of the disputed question. Second, the order must resolve an issue completely

separate from the merits of the case. Finally, the issue must involve a claimed right that would

be effectively unreviewable after a final judgment. See Cohen, 337 U.S. at 546; Abney v. United

States, 431 U.S. 651, 659-60 (1977); Garrett v. Stratman, M.D., 254 F.3d 946, 952 (10th Cir.

2001). A district court may retain jurisdiction over a case when an interlocutory appeal is taken

(1) if the pending matter is not involved in the appeal and (2) if the district court makes written

findings that the appeal is frivolous.3

       Defendant relies on cases from the Fourth Circuit and Eleventh Circuit which held that

the denial of a motion to strike a notice of intent to seek the death penalty (“NOI”) is a collateral

order subject to interlocutory appeal. See United States v. Ferebe, 332 F.3d 722, 724 (4th Cir.



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           See, e.g., U.S. v. Musson, 802 F.2d 384 (10th Cir. 1986) (court of appeals had
jurisdiction to review interlocutory order regarding alienation of property, which was collateral
to issue of innocence or guilt); Stewart v. Donges, 915 F.2d 572, 576 (10th Cir.1990) (“. . . a
finding of frivolousness enable[s] the district court to retain jurisdiction and to proceed to trial
absent intervention by the court of appeals”).

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2003); United States v. Wilk, 452 F.3d 1208, 1220 (11th Cir. 2006). In Ferebe, the Fourth

Circuit accepted jurisdiction over the interlocutory appeal, holding that 18 U.S.C. §3593(a),

which requires the Government to give notice of its intent to seek the death penalty, establishes a

“right not to stand for a capital offense except upon adequate notice.” Id. at 728. In Wilk, the

Eleventh Circuit agreed with the Fourth Circuit without any explanation. 452 F.3d at 1220.

While not cited by the Defendant, the First Circuit has assumed without deciding that the Fourth

Circuit correctly applied the collateral order rule. See United States v. Ayala-Lopez, 457 F.3d

107, 108 (1st Cir. 2006).

        Disagreeing with its sister circuits, the Second Circuit expressly addressed this issue and

held that the denial of a motion to strike a NOI is not a collateral order subject to interlocutory

review. See United States v. Robinson, 473 F.3d 487, 491 (2d Cir. 2007) (finding it

“inappropriate to conclude that § 3593(a) creates a right not to stand trial. . . .”). It held that the

statute only gives the Defendant the right to be notified “a reasonable time before trial” that the

Government will seek the death penalty; it does not permit him to avoid trial altogether if the

Government violates this provision:

        There is no question that [the defendant] may be tried on the substantive charges
        on which he was indicted, regardless of whether or not the death penalty may be
        imposed. Rather, he contests only the government's authority to seek that penalty
        if he is convicted, without having given timely notice of its intention to do so.For
        this reason, the protection that § 3593(a) affords a defendant in [defendant’s]
        position more closely resembles the protection afforded by any number of pretrial
        rights that involve notification or disclosure for the purpose of allowing the
        defendant to prepare his case. None of these rights amounts to a right not to stand
        trial and, of course, none supplies a basis for interlocutory review under the
        collateral order doctrine.

473 F.3d at 491-92

        The Tenth Circuit has not yet had occasion to consider this issue. However, neither


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Ferebe nor its progeny provide a reason for the Court to find that Defendant’s appeal belongs

within the narrow category of interlocutory appeals permitted by the collateral order doctrine.

As the Government correctly points out, in Ferebe, Defendant sought to strike the NOI in its

entirety on the basis that it was not provided to him sufficiently in advance of trial. Ferebe, 332

F.3d at 724. By contrast, Defendant in this case challenged only two of the aggravating factors,

and evidence flowing from those two factors. Defendant does not seek to avoid trial, or even a

capital sentencing phase. Thus, the underpinning of Ferebe’s holding does not apply here, since

Defendant would proceed to trial and to the subsequent penalty phase with or without the

challenged aggravating factors. The Court sees no reason to apply Ferebe outside the bounds of

the facts of that case. The rules of finality must be applied strictly in criminal prosecutions.

Abney v. U. S., 431 U.S. 651, 656 (U.S. 1977) (“[a]dherence to . . . rule of finality has been

particularly stringent in criminal prosecutions. . . .”).

        The Court agrees with the Government’s assessment of Defendant’s argument as

primarily an evidentiary issue – that any evidence of future dangerousness or victim impact

should be excluded from any penalty phase. Because post-judgment review sufficiently protects

Defendant’s rights asserted in his appeal, the third Cohen prong is not met and interlocutory

review is not appropriate.

                                              Conclusion

        In sum, the Court concludes that Defendant’s appeal does not qualify as an interlocutory

appeal from a collateral order. Based on this finding, the Court need not address the

Government’s motion to certify Defendant’s appeal as frivolous.

        Further, regardless of whether the Court of Appeals entertains Defendant’s appeal, the

Court concludes that no stay of this case is necessary, since the issue Defendant raises on appeal

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does not implicate the question of whether Defendant will stand trial for the crimes charged in

the superseding indictment.4

       THEREFORE,

       IT IS ORDERED that Defendant’s Motion to Stay Trial and All Further Proceedings

Pending Appeal (Doc. 530) is hereby DENIED for reasons stated in this Memorandum Opinion

and Order;

       IT IS FURTHER ORDERED that the Government’s Motion to Certify as Frivolous the

Notice of Interlocutory Appeal (Doc. 536) is hereby DENIED as MOOT, in light of the Court’s

disposition of the matter based on Defendant’s Motion to Stay.




                                             UNITED STATES DISTRICT JUDGE




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         The issues which Defendant raise on appeal are in stark contrast to the double jeopardy
and qualified immunity defenses discussed in Stewart v. Donges, 918 F.2d 572 (10th Cir. 1990)
and United States v. Hines, 689 F.2d 934, 936- 7 (10th Cir. 1982), both of which involve a bar to
having a defendant stand trial.

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